             Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 1 of 20




     [Submitting Counsel on Signature Page]
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
                                  UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
13
14   In re Meta Browser Tracking Litigation    Case No. 4:22-cv-05267-JST
15                                             [PROPOSED] STIPULATED ORDER RE:
16                                             DISCOVERY OF ELECTRONICALLY
                                               STORED INFORMATION
17
18
19
20
21
22
23
24
25
26
27
28

         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                     INFORMATION
                                Case No. 4:22-cv-05267-JST
              Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 2 of 20




 1          1.      PURPOSE
 2          This Order will govern discovery of electronically stored information (“ESI”) (“eDiscovery”) in
 3   this case as a supplement to the Federal Rules of Civil Procedure, this Court’s Guidelines for the Discovery
 4   of Electronically Stored Information, and any other applicable orders and rules.
 5
            2.      COOPERATION AND PROPORTIONALITY
 6
            The parties are aware of the importance of cooperation and commit to cooperate in good faith
 7
     throughout the matter consistent with this Court’s Guidelines for the Discovery of ESI to promote the
 8
     “just, speedy, and inexpensive determination” of this action, as required by Fed. R. Civ. P. 1. The parties’
 9
     cooperation includes propounding reasonably particular discovery requests, identifying appropriate limits
10
     to eDiscovery, including limits on custodians, identifying relevant and discoverable ESI, establishing time
11
     periods for eDiscovery, promptly identifying custodians, providing reasonable estimates for completion
12
     of the production of documents in response to discovery requests, meeting and conferring in good faith
13
     regarding search terms, and other parameters to limit and guide preservation and eDiscovery issues. The
14
15   failure of counsel or the parties to cooperate in facilitating and reasonably limiting eDiscovery requests

16   and responses will be considered in cost-shifting determinations. The parties agree to use reasonable, good

17   faith, and proportional efforts to preserve, identify and produce relevant and discoverable information

18   consistent with Fed. R. Civ. P. 26(b)(1).

19          3.      LIAISON
20          Each party shall designate or make available, an individual or individuals as eDiscovery Liaison(s)
21   who must:
22          (a)     be prepared to meet and confer on eDiscovery-related matters and to participate in
23                  eDiscovery dispute resolution;
24          (b)     be knowledgeable about the party’s eDiscovery efforts;
25
            (c)     be, or have reasonable access to those who are, familiar with the party’s electronic systems
26
                    and capabilities in order to explain those systems and answer relevant questions; and
27
28
                                             1
         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                     INFORMATION
                                Case No. 4:22-cv-05267-JST
              Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 3 of 20




 1          (d)     be, or have reasonable access to those who are, knowledgeable about the technical aspects
 2                  of eDiscovery, including electronic document storage, organization, and format issues, and
 3                  relevant information retrieval technology, including search methodology.
 4          4.      PRESERVATION
 5
            Each party is responsible for taking reasonable and proportionate steps to preserve relevant and
 6
     discoverable ESI within its possession, custody or control consistent with Sedona Conference Principle 6
 7
     which instructs that “[r]esponding parties are best situated to evaluate the procedures, methodologies, and
 8
     technologies appropriate for preserving and producing their own electronically stored information.”1 The
 9
     parties have discussed their preservation obligations and needs and agree that preservation of relevant ESI
10
     will be reasonable and proportionate. To reduce the costs and burdens of preservation and to ensure proper
11
     ESI is preserved, the parties agree that:
12
            (a)     Parties will preserve non-duplicative, relevant information currently in their possession,
13
                    custody, or control; .
14
15          (b)     Subject to and without waiving any protection described in Section 4(a) above, the parties

16                  agree to meet and confer to discuss the following scope of preservation, which may include

17                  the following data points:

18                  1.      The date range of preservation for ESI created or received;

19                  2.      The sources and types of relevant ESI to preserve;
20                  3.      The number of custodians per party for whom ESI will be preserved, leaving the
21                          option open to discuss additional custodians as reasonably necessary (i.e., when
22                          specific evidence warrants expanding the initial custodian list) when relevant;
23          (c)     The following data sources are not reasonably accessible because of undue burden or cost
24                  pursuant to Fed. R. Civ. P. 26(b)(2)(B), will be retained pursuant to standard business
25
26
27   1
      The Sedona Principles, Third Edition: Best Practices, Recommendations & Principles for Addressing
28   Electronic Document Production, 19 SEDONA CONF. J. 118 (2018).
                                             2
         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                     INFORMATION
                                Case No. 4:22-cv-05267-JST
        Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 4 of 20




 1          processes, but not otherwise preserved, searched, reviewed, or produced, unless ordered by
 2          the Court upon a motion of a party:
 3          1.      backup systems and/or tapes used for disaster recovery;
 4          2.      systems no longer in use that cannot be accessed by using systems currently in use
 5
                    by the party;
 6
            3.      Voice messages;
 7
            4.      Instant messages and chats that are not chronicled to an email archive system;
 8
            5.      Sound recordings, including, without limitation, .mp3/.mp4 and .wav files; and
 9
            6.      Video recordings.
10
      (d)   In addition to the agreements above, the parties agree data from these sources (a) could
11
            contain relevant information but (b) under the proportionality factors, should not be
12
            preserved:
13
            1. Deleted, slack, fragmented, or unallocated data only accessible by forensics.
14
15          2. Random access memory (RAM), temporary files, or other ephemeral data that are

16               difficult to preserve without disabling the operating system.

17          3. On-line data such as temporary internet files, history, cache, cookies, and the like.

18          4. Data in metadata fields that are frequently updated automatically, such as last-opened

19               or last modified dates.
20          5. Mobile device activity logs.
21          6. Server, system, or network logs.
22          7. Dynamic fields in databases or log files not stored or retained in the usual course of
23               business.
24          8. Information created or copied during the routine, good-faith performance of processes
25
                 for the deployment, maintenance, retirement, and/or disposition of computer equipment
26
                 by the party.
27
28
                                         3
     [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                 INFORMATION
                            Case No. 4:22-cv-05267-JST
                 Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 5 of 20




 1                   9. Other forms of ESI whose preservation requires unreasonable, disproportionate, and/or
 2                      non-routine, affirmative measures that are not utilized in the ordinary course of
 3                      business.
 4          (e)      The Parties acknowledge that Meta Platforms, Inc. is subject to various privacy regulations
 5
                     and court orders that require the disposition of identifiable user data. To the extent that
 6
                     identifiable user data subject to routine disposition as required by privacy regulations and
 7
                     court orders is identified as relevant to the claims or defenses in this case, the parties will
 8
                     meet and confer on preservation of such information as it exists at that time, including the
 9
                     feasibility of such preservation and the type and import of the user data implicated. No less
10
                     than three (3) business days prior to any such meet and confer, Meta will provide Plaintiffs
11
                     with copies of any privacy regulation or court order requiring routine disposition of
12
                     identifiable user data relevant to the claims or defenses in this case.
13
            5.       SEARCH
14
15          The parties agree that in responding to an initial Fed. R. Civ. P. 34 request, or earlier if appropriate,

16   they will disclose the method or methods they are employing to identify the appropriate set(s) of

17   documents for review and production.

18          (a)      Search Terms: Where potentially responsive ESI will be searched using search terms, the

19   parties agree that the producing party will investigate what search terms and source files will be reasonably

20   likely to uncover responsive information and then propose those search terms and source files for the

21   requesting party’s consideration. Specifically, a producing party shall disclose the custodians or other non-

22   custodial sources, date range, and search terms or queries, if any, and methodology that it proposes to use

23   to locate ESI likely to contain discoverable information. Nothing in this paragraph shall be interpreted to

24   require the production of information protected by the attorney-client privilege or the work product

25   doctrine.

26          (b)      The search terms shall be narrowly tailored to particular issues. Indiscriminate terms, such

27   as the producing party’s name, are inappropriate unless combined with narrowing search criteria that

28   sufficiently reduce the risk of overproduction. Use of narrowing search criteria (e.g., “and,” “but not,”
                                             4
         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                     INFORMATION
                                Case No. 4:22-cv-05267-JST
              Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 6 of 20




 1   “w/x”) is encouraged to limit the production, and the parties agree to meet and confer, in good faith, to
 2   develop such terms.
 3          (c)     Proposed search terms will be subject to negotiation with and input from the requesting
 4   party. The requesting party may ask for (and the producing party will not unreasonably withhold)
 5   reasonably necessary qualitative and quantitative information regarding search methodology, including
 6   but not limited to, production of search term hit reports, with unique document “hit” counts (i.e.,
 7   documents that do not hit on other search terms or queries and that have been de-duped within the set).
 8          (d)     The parties will reach an agreement on the search terms or queries to be used before the
 9   producing party applies those search terms or queries to potentially responsive ESI. Reasonable efforts
10   will be made to open any password protected files and expand any archive containers (e.g., .zip files) prior
11   to running search terms or any search methodology.
12          (e)     Agreement on a search methodology does not relieve a Party of its obligation under the
13   Federal Rules of Civil Procedure to conduct a reasonable search and produce all relevant and responsive
14   documents of which a party is aware, regardless of whether they contain agreed-upon search terms or are
15   responsive to any other search methodology agreed to by the parties or ordered by the Court.
16          (f)     To the extent a party is aware of non-duplicative documents that are relevant, responsive,
17   non-privileged, reasonably accessible, and within the party’s possession, custody, and/or control, such
18   documents will be produced regardless of whether they contain search terms or are responsive to any other
19   search methodology agreed to by the parties or ordered by the Court.
20          The parties acknowledge that there may be subsequent occasions on which potential modification
21   to a previously agreed upon search protocol may be warranted. Should such an instance arise, the parties
22   agree to meet and confer about whether modifications to a search methodology are necessary or warranted.
23   If a party requests such a meet and confer, the parties will meet and confer within seven days.
24          (a)     Technology Assisted Review. A Party may use technology assisted review (TAR) or
25                  similar advanced analytics to filter out or exclude non-responsive documents.2             A
26
27   2
      A producing Party need not disclose whether it is using TAR, Continuous Active Learning (CAL), or
28   any other predictive coding to prioritize the review of documents collected.
                                             5
         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                     INFORMATION
                                Case No. 4:22-cv-05267-JST
         Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 7 of 20




 1             Receiving Party may request the following information about a Producing Party’s use of
 2             TAR or similar advanced analytics limited to the following: (1) the custodians and data
 3             sources against which TAR or advanced analytics will be run; (2) the TAR or advanced
 4             analytics tool being used and vendor; and (3) the measure(s) used to validate the results of
 5
               the TAR methodology or similar advanced analytics.
 6
       (b)     Nothing in this Order may be construed or interpreted as precluding a producing party from
 7
               performing a responsiveness review to determine if documents captured by search terms
 8
               are in fact relevant to the requesting party’s discovery requests. Similarly, nothing may be
 9
               construed or interpreted as precluding a producing party from performing, by any means,
10
               a privilege review of documents determined to be relevant. Further, nothing in this Order
11
               requires the production of documents captured by any search term that are irrelevant to the
12
               Requesting Party’s request, privileged or otherwise protected from disclosure.
13
       (c)     Each party will use its best efforts to filter out common system files and application
14
15             executable files by using a commercially reasonable hash identification process. For

16             example, Hash values may be filtered out during this process using the National Software

17             Reference Library (“NSRL”) NIST hash set list.

18     (d)     De-Duplication. Each party is required to produce only a single copy of a responsive

19             document and each party may de-duplicate responsive ESI (e.g., based on MD5 hash values
20             at the document level) across Custodians. For emails with attachments, the hash value is
21             generated based on the parent/child document grouping. To the extent that de-duplication
22             through MD5 hash values is not possible, the parties shall meet and confer to discuss any
23             other proposed method of de-duplication. To accommodate for rolling productions, for
24             ESI that is removed as a duplicate from earlier productions, the producing party should
25
               provide an overlay file along with or within a reasonable time after each production.
26
       (e)     Email Threading. Where multiple email messages are part of a single chain or “thread,” a
27
               party is only required to produce the most inclusive message (“Last In Time Email”), and
28
            need not produce earlier, less inclusive email messages or “thread members” that are fully
                                                  6
     [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                          INFORMATION
                                  Case No. 4:22-cv-05267-JST
              Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 8 of 20




 1                 contained, including attachments and including identical senders and recipients, within the
 2                 Last In Time Email. Only email messages for which the parent document and all
 3                 attachments are contained in the Last In Time Email will be considered less inclusive email
 4                 messages that need not be produced. Where a prior email contains an attachment that is
 5
                   not included in the Last in Time Email, the prior email and attachment shall be produced.
 6
                   Notwithstanding the foregoing, if the producing party redacts some or all of an earlier
 7
                   “thread member” of an email string, or an attachment to such an email, on the basis of
 8
                   attorney-client privilege, work-product doctrine, or any other applicable privilege,
 9
                   immunity or protection, the entire string shall be produced containing the redacted material.
10
            (f)    No provision of this Order affects any inspection of source code that is responsive to a
11
                   discovery request consistent with the protective order governing this case.
12
            (g)    On-site inspection will not be permitted absent a demonstration by the requesting party of
13
                   specific need and good cause or by agreement of the parties. Inspection of any mobile
14
15                 device in connection with discovery in this case will not be permitted absent a

16                 demonstration by the Requesting Party of specific need and good cause or by agreement of

17                 the parties.

18          6.     PRODUCTION FORMATS

19          The parties agree to produce documents in the formats described in Appendix 1 to this Order. If
20   particular documents warrant a different format, the parties will cooperate to arrange for the mutually
21   acceptable production of such documents. The parties agree, to the extent practicable, not to materially
22   degrade the searchability of documents as part of the document production process.
23          7.     PHASING
24          When a party propounds discovery requests pursuant to Fed. R. Civ. P. 34, the parties agree to
25
     meet and confer concerning whether the production of responsive ESI should occur in phases.
26
            8.     DOCUMENTS PROTECTED FROM DISCOVERY
27
            (a)    The Parties and Court have entered a separate Order under Fed. R. Evid. 502(d) that
28
                governs the production of documents protected from discovery.
                                                   7
         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                            INFORMATION
                                      Case No. 4:22-cv-05267-JST
             Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 9 of 20




 1         (b)    Activities undertaken in compliance with the duty to preserve information are protected
 2                from disclosure and discovery under Fed. R. Civ. P. 26(b)(3)(A) and (B).
 3         (c)    Communications involving or work product associated with inside or outside counsel for
 4                the parties related to this case that post-date the filing of the complaint need not be placed
 5
                  on a privilege log.
 6
           (d)    Parties agree to log only the Last In Time Emails in a thread and need not log earlier, less
 7
                  inclusive email messages or “thread members” that are fully contained within the Last In
 8
                  Time Email.
 9
           (e)    Communications may be identified on a privilege log by category, rather than individually,
10
                  if appropriate.
11
           (f)    The parties agree to furnish logs that comply with Fed. R. Civ. P. 26(b)(5) and any other
12
                  legal requirements for all documents withheld or redacted on the basis of privilege, attorney
13
                  work product, or similar doctrines. Privilege logs may be produced on a rolling basis or
14
15                after all productions are complete, but prior to the close of discovery.

16         (g)    The parties will meet and confer concerning specific content of and procedures to be used

17                related to production of the parties’ privilege logs.

18         (h)    Nothing in this Order requires disclosure of irrelevant information or relevant information

19                protected by the attorney-client privilege, work-product doctrine, or any other applicable
20                privilege or immunity. The parties do not waive any objections to the production,
21                discoverability, admissibility, or confidentiality of documents and ESI.
22         9.     MODIFICATION
23         This Stipulated Order may be modified by a Stipulated Order of the parties or by the Court for
24   good cause shown.
25         10.    COSTS
26         Each party shall bear its own e-discovery costs, including costs for exemplification and copying.
27
28
                                             8
         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                     INFORMATION
                                Case No. 4:22-cv-05267-JST
               Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 10 of 20




 1            11.    MODIFICATION
 2            This order may be modified by written agreement of the parties or by the court for good cause
 3   shown.
 4
 5
 6   Dated: April 28, 2023                         Respectfully submitted,
 7
                                                   By: /s/ Reid Gaa
 8                                                 Adam E. Polk (SBN 273000)
                                                   Simon S. Grille (SBN 294914)
 9
                                                   Kimberly Macey (SBN 342019)
10                                                 Reid Gaa (SBN 330141)
                                                   GIRARD SHARP LLP
11                                                 601 California Street, Suite 1400
                                                   San Francisco, CA 94108
12
                                                   Telephone: (415) 981-4800
13                                                 apolk@girardsharp.com
                                                   sgrille@girardsharp.com
14                                                 kmacey@girardsharp.com
15                                                 rgaa@girardsharp.com

16                                                 John J. Nelson (SBN 317598)
                                                   MILBERG COLEMAN BRYSON
17                                                  PHILLIPS GROSSMAN, PLLC
18                                                 280 S. Beverly Drive
                                                   Beverly Hills, CA 90212
19                                                 Telephone: (858) 209-6941
                                                   jnelson@milberg.com
20
21                                                 Gary M. Klinger (pro hac vice forthcoming)
                                                   Alexandra M. Honeycutt (pro hac vice forthcoming)
22                                                 Nick Suciu (pro hac vice forthcoming)
                                                   MILBERG COLEMAN BRYSON
23                                                  PHILLIPS GROSSMAN, PLLC
24                                                 227 W. Monroe Street, Suite 2100
                                                   Chicago, IL 60606
25                                                 Telephone: (866) 252-0878
                                                   gklinger@milberg.com
26
                                                   ahoneycutt@milberg.com
27                                                 nsuciu@milberg.com

28                                    Attorneys for Plaintiffs
                                             9
         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                     INFORMATION
                                Case No. 4:22-cv-05267-JST
             Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 11 of 20




 1
 2   Dated: April 28. 2023                 By: /s/ Serrin Turner
                                           Elizabeth L. Deeley (Bar No. 230798)
 3                                         elizabeth.deeley@lw.com
                                           LATHAM & WATKINS LLP
 4
                                           505 Montgomery Street, Suite 2000
 5                                         San Francisco, CA 94111-6538
                                           Telephone: +1.415.391.0600
 6
 7                                         Serrin Turner (pro hac vice)
                                           serrin.turner@lw.com
 8                                         Marissa Alter-Nelson (pro hac vice)
                                           Marissa.alter-nelson@lw.com
 9                                         LATHAM & WATKINS LLP
10                                         1271 Avenue of the Americas
                                           New York, New York 10022-4834
11                                         Telephone: +1.212.906.1200
12                                         Attorneys for Defendant Meta Platforms, Inc
13
14
15                                      [PROPOSED] ORDER
16          PURSUANT TO STIPULATION, IT IS SO ORDERED.
17
18                May 2, 2023
     Date: __________________________             ______________________________
19                                                Hon. Jon S. Tigar
                                                  United States District Judge
20
21
22
23
24
25
26
27
28
                                             10
         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                     INFORMATION
                                Case No. 4:22-cv-05267-JST
             Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 12 of 20




 1                                               ATTESTATION
 2          I, Reid Gaa, am the ECF User whose ID and password are being used to file this document. In
 3   compliance with Civil L.R. 5-1(h)(3), I hereby attest that all counsel have concurred in this filing.
 4
     Dated: April 28, 2023                         /s/ Reid Gaa
 5
                                                   Reid Gaa
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             11
         [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                     INFORMATION
                                Case No. 4:22-cv-05267-JST
       Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 13 of 20




                           APPENDIX 1: PRODUCTION FORMAT
 1
      1.    Production Components. Except as otherwise provided below, ESI shall be produced in
 2
            accordance with the following specifications:
 3
 4
            (a) an ASCII (or UTF8) delimited data file (.DAT) using standard delimiters;
 5
 6          (b) an image load file (.OPT) that can be loaded into commercially acceptable production

 7             software (e.g. Concordance or Relativity);

 8
            (c) TIFF images;
 9
10          (d) and document level .TXT files for all documents containing extracted full text or
11             OCR text.
12
            (e) Parent-child relationships will be maintained in production. Links within a document
13
14             are not considered attachments. To the extent reasonably feasible, the attachment(s)

15             shall be produced adjacent to the parent document, in terms of Bates numbers, with

16             the first attachment being named with the next sequential number after the parent, and

17             any additional attachment(s) sequentially numbered after that first attachment.
18             If a particular document warrants a different production format, the parties will
19             cooperate in good faith to arrange for a mutually acceptable production format.
20
      2.    Production Media and Access Controls. Documents shall be encrypted and produced
21
            through electronic means, such as secure file sharing methods (e.g. FTP), or on CD,
22
23          DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

24          Media shall identify a production number corresponding to the production volume (e.g.

25          “VOL001”). Each piece of Production Media shall also identify: (a) the case caption; (b)

26          the following label: “This media contains material subject to Court Ordered security

27          measures”; (c) the producing party’s name; (d) the production date; and (e) the Bates
28          Number range of the materials contained on the Production Media. Productions shall
                                         12
     [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                 INFORMATION
                            Case No. 4:22-cv-05267-JST
        Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 14 of 20




 1           have the following four directories: (1) IMAGES for the images; (2) DATA for the .dat
 2           and .opt files; (3) TEXT for the extracted text/OCR files; and (4) NATIVES for any
 3           native Excel or other files that cannot be understood reasonably unless displayed in
 4           native format.
 5                  Nothing in this Order will preclude or impair any and all protections provided the
 6           parties by any Protective Order(s) agreed and entered into by the parties. Any data
 7           produced by the producing party must be protected in transit, in use, and at rest by all in
 8           receipt of such data. Parties will use best efforts to avoid the unnecessary copying or
 9           transmittal of produced documents. If questions arise, Parties will meet and confer to
10           ensure security concerns are addressed prior to the exchange of any documents.
11
       3.    Data Load Files/Image Load Files. Each TIFF in a production must be referenced in
12
             the corresponding image load file. The total number of documents referenced in a
13
             production’s data load file should match the total number of designated document breaks
14
             in the image load file(s) in the production. The total number of pages referenced in a
15
             production’s image load file should match the total number of TIFF files in the
16
             production. All images must be assigned a unique Bates number that is sequential within
17
             a given document and across the production sets. The Bates Numbers in the image load
18
             file must match the corresponding documents’ beginning Bates numbers in the data load
19
             file. The total number of documents in a production should match the total number of
20
21           records in the data load file. Load files shall not vary in format or structure within a

22           production, or from one production to another.

23     4.    Metadata Fields. Each of the metadata and coding fields set forth below that can be

24           extracted shall be produced for each document. The parties are not obligated to populate

25           or edit manually any of the fields below if such fields cannot be extracted from a
26           document, except that they will use reasonable efforts to populate the following fields:
27           (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d) ENDATTACH, (e)
28          PRODVOL, (f) CUSTODIAN, (g) ALLCUSTODIANDUPE, (h) CONFIDENTIALITY,
                                          13
     [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                  INFORMATION
                             Case No. 4:22-cv-05267-JST
         Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 15 of 20




 1             (i) REDACTIONS, (j) NATIVEFILEPATH, (k) TEXTFILEPATH, and (l)
 2             HASHVALUE, which should be populated by the party or the party’s vendor. The
 3             parties will make reasonable efforts to ensure that metadata fields automatically extracted
 4             from the documents correspond directly to the information that exists in the original
 5
               documents.
 6
 7         Field Name                                  Field Description
 8                                 Beginning Bates number as stamped on the production
     BEGBATES
 9                                 image

10   ENDBATES                      Ending Bates number as stamped on the production image

11                                 First production Bates number of the first document in a
     BEGATTACH                     family
12
                                   Last production Bates number of the last document in a
     ENDATTACH
13                                 family

14   PRODVOL                       Production volume

15                                 Individual(s) from whom the document was obtained and
     ALLCUSTODIAN(S)
                                   de-duplicated out during global de-duplication
16
     CONFIDENTIALITY               Confidentiality designation assigned to document
17
     NATIVEFILEPATH                Native File Link (Native Files only)
18
19   TEXTFILEPATH                  Path to extracted text/OCR file for document

20   HASHVALUE                     MD5 hash value of document

21                                 Any value populated in the Author field of the document
     AUTHOR                        properties (Edoc or attachment only)
22
                                   Date the document was created (format: MM/DD/YYYY)
     DOCDATE
23                                 (Edoc or attachment only)
24                                 Date when document was last modified according to
     DATEMODIFIED                  filesystem information (format: MM/DD/YYYY) (Edoc or
25                                 attachment only)
26   DOCTYPE                       The kind of application or file a document came from.
27   CREATETIME                    The time the file was created.
28   TIMELASTMOD                   The time changes were last made to a file.
                                          14
      [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                  INFORMATION
                             Case No. 4:22-cv-05267-JST
            Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 16 of 20




 1              Field Name                                 Field Description

 2   MODIFIEDBY                       Person who last modified or saved the item.

 3   FILENAME                         Filename of an electronic document

 4                                    Original path to the individual source file. Includes path up
     FILEPATH                         to and including internal path of containers. This should be
 5                                    the path where the document is kept in the usual course.
 6   NATIVEPATH                       The path to a copy of a file within the production
                                      deliverable.
 7
     FILEEXT                          The file extension of the native file.
 8
                                      Any value populated in the Title field of the document
 9   TITLE                            properties
10                                    File extension of document pulled from the document
     DOCEXT                           properties
11
     FROM                             The sender of the email
12
                                      All recipients that were included on the “To” line of the
13   TO                               email
14                                    All recipients that were included on the “CC” line of the
     CC
15                                    email

16                                    All recipients that were included on the “BCC” line of the
     BCC
                                      email
17
                                      Date and time email was received (format:
18   DATETIMERECEIVED
                                      MM/DD/YYYY HH:MM SS)
19
                                      Date and time email was sent (format: MM/DD/YYYY
     DATETIMESENT
20                                    HH:MM SS)

21   PARENTDATE                       The date of the parent document. For emails this will be
                                      date sent and for non-emails date last modified.
22
     EMAILSUBJECT                     Subject line of email pulled from the document properties
23
     REDACTIONS                       Indicate Yes/No if document redacted
24
25                                    The basis for any redactions made to the document by the
     REDACTIONBASIS
                                      producing party (e.g., A-C Priv, Work Prod., etc.)
26
           5.      TIFFs. Documents that exist only in hard copy format shall be scanned and produced as
27
                   TIFFs. Documents that exist as ESI shall be converted and produced as TIFFs, except as
28
                                          15
      [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                  INFORMATION
                             Case No. 4:22-cv-05267-JST
        Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 17 of 20




 1             provided below. The parties shall take reasonable efforts to process presentations (e.g.
 2             MS PowerPoint) with hidden slides and speaker’s notes unhidden, and to show both the
 3             slide and the speaker’s notes on the TIFF image. Unless excepted below, single page,
 4             black and white, Group IV TIFFs should be provided, at least 300 dots per inch (dpi) for
 5
               all documents. Each TIFF image shall be named according to a unique corresponding
 6
               Bates number associated with the document. Each image shall be branded according to
 7
               the Bates number and the agreed upon confidentiality designation. Original document
 8
               orientation should be maintained (i.e., portrait to portrait and landscape to landscape).
 9
               Where the TIFF image is unreadable or has materially degraded the quality of the
10
               original, the producing party shall provide a higher quality TIFF image or the native or
11
               original file.
12
       6.      Color. To the extent reasonably feasible, the parties shall produce documents in color
13
               where the document in its original format contained color (e.g., charts and graphics,
14
15             tracked changes, or other highlights). Color images should be produced with a high

16             quality setting as to not degrade the original image.

17     7.      Text Files. A document level text file shall be provided for each document, and the

18             filename should match its respective TIFF filename. When possible, the text of native

19             files should be extracted directly from the native file. Text files will not contain the
20             redacted portions of the documents. A commercially acceptable technology for optical
21             character recognition “OCR” shall be used for all scanned, hard copy documents and for
22             documents with redactions. To the extent reasonably feasible, extracted text shall provide
23             all comments, tracked changes, speaker’s notes, and text from hidden worksheets, slides,
24             columns, and rows.
25
       8.      Native files. Spreadsheets (e.g. MS Excel) will be produced in native format unless
26
               redacted, in which instance, spreadsheets will be produced in TIFF with OCR Text Files.
27
               The requesting party may also ask for (and the producing party will not unreasonably
28
            withhold) production of individual presentation files (e.g., PowerPoint) in native format
                                                16
     [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                        INFORMATION
                                  Case No. 4:22-cv-05267-JST
       Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 18 of 20




 1          where native format is reasonably necessary to understand the meaning of the
 2          presentation. To the extent that they are produced in this action, audio, video, and multi-
 3          media files will be produced in native format. If a native file originally had track changes,
 4          comments, or other collaborative change features turned on, the .TIFF file will display
 5
            those changes in the converted image file; provided, however, that if doing the foregoing
 6
            is not reasonably feasible for any given file(s), the producing party will so advise the
 7
            requesting party and the parties will meet and confer regarding an alternative process.
 8
            Native files will be produced with a link in the NATIVEFILEPATH field, along with
 9
            extracted text (where extracted text is available) and applicable metadata fields set forth
10
            in paragraph 4 above. A Bates numbered TIFF placeholder indicating that the document
11
            was provided in native format must accompany every native file. Native files will be
12
            produced in a separate folder on the production media. TIFF images of e-mail messages
13
            should include the BCC line. Upon request from the receiving party that any files be
14
15          produced in native format (identified by Bates number), the parties agree to meet and

16          confer in good faith concerning such requests. A request for such production shall not be

17          unreasonably denied.

18    9.    Redactions. A Party may not redact information on the basis that it believes the

19          information to be irrelevant. If the parties are redacting information from a page, they
20          shall electronically “burn” the word “Redacted” onto the page or otherwise clearly
21          indicate a redaction at or reasonably near to the location of the redaction(s). If documents
22          that the parties have agreed to produce in native format need to be redacted, the parties
23          agree to meet and confer in good faith on how to best produce the documents so that
24          proper formatting and usability are maintained. Extracted text will not be provided for
25
            electronic documents that have been redacted. Instead, these files should be run through
26
            an OCR process to capture the visible text only and the results exchanged in lieu of the
27
            original extracted text.
28
                                         17
     [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                 INFORMATION
                            Case No. 4:22-cv-05267-JST
        Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 19 of 20




 1     10.    Confidentiality Designation. Responsive documents in TIFF format will be stamped
 2            with the appropriate confidentiality designations in accordance with the Protective Order
 3            entered in this matter. Each responsive document produced in native format will have its
 4            confidentiality designation identified in the filename of the native file and indicated on its
 5
              corresponding TIFF placeholder.
 6
       11.    Databases and Other Structured Data. The parties shall meet and confer regarding the
 7
              production format and scope of data contained in databases in order to ensure that any
 8
              information produced is reasonably usable by the receiving party and that its production
 9
              does not impose an undue burden on the producing party, by, for example, requiring
10
              development of reports and/or software code to extract the information. To avoid doubt,
11
              information will be considered reasonably usable when produced in CSV format, tab-
12
              delimited text format, Microsoft Excel format, or Microsoft Access format. To the extent
13
              a party is constrained from producing responsive ESI because of a third-party license or
14
15            because software necessary to view the ESI is hardware-dependent, the parties shall meet

16            and confer to reach an agreement on alternative methods to enable the requesting party to

17            view the ESI. To facilitate the meet and confer process and production of this

18            information, the requesting party may ask for (and the producing party shall not

19            unreasonably withhold) sample reports reflecting the types of information and fields
20            contained in the database(s), where such reports are reasonably available and will not be
21            unduly burdensome to provide.
22     12.    Physical/Hard Copy Documents. Nothing herein shall relieve the parties of any
23            obligations they may have to search for responsive Documents in hard copy form. The
24            parties shall produce documents that exist solely in physical hard-copy format following
25            this ESI Protocol. The metadata shall indicate document breaks and identify the custodian
26            or non-person custodial source from whom/where the document was collected. The
27            following objective coding fields should be provided, if applicable: (1) beginning Bates
28          number, (2) ending Bates number, (3) page count, and (4) source location/custodian. The
                                              18
     [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                       INFORMATION
                                 Case No. 4:22-cv-05267-JST
       Case 4:22-cv-05267-JST Document 70 Filed 05/02/23 Page 20 of 20




 1          documents should be logically unitized for production to the extent reasonably
 2          practicable. Where the documents were organized into groups, such as folders, clipped
 3          bundles, and binders, this structure shall be maintained and provided in the load file to
 4          the extent reasonably practicable. The parties will make their best efforts to have their
 5          vendors unitize documents correctly and will commit to address situations where there
 6          are improperly unitized documents. The “.tiff’ files shall be subject to an OCR process.
 7          The OCR software should maximize text quality over process speed. Settings such as
 8          “auto skewing” and “auto-rotation” should be turned on during the OCR process. The
 9          parties will meet and confer to address instances of undue burden and will work to
10          negotiate an appropriate solution
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                         19
     [PROPOSED] STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                                 INFORMATION
                            Case No. 4:22-cv-05267-JST
